                  Case 1:15-cv-05871-KPF Document 127 Filed 01/09/19 Page 1 of 1


                               MEMO ENDORSED




 Application GRANTED. At the November 14, 2018 conference, the Court
 stayed all discovery deadlines. In other words, Ms. Price and the City
 Law Department do not have to meet any discovery deadlines while Ms.
 Price tries to obtain counsel. Ms. Price is ORDERED to notify the
 Court, via letter, by February 6, 2019, whether she has been able to
 obtain counsel. At that point, the Court will likely set a conference
 to discuss setting a new discovery schedule that will allow any new
 counsel enough time to come up to speed.



                                                  SO ORDERED.
 Dated: January 9, 2019
        New York, New York
A copy of this Order was mailed by Chambers to:

 Kelly Price
 534 W. 187th Street                              HON. KATHERINE POLK FAILLA
 Apt. # 7                                         UNITED STATES DISTRICT JUDGE
 New York, NY 10033
